      Case 2:18-cv-08969-MVL-MBN Document 40 Filed 10/16/19 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 KWANTRA VARNADO, ET AL                                            CIVIL ACTION
 VERSUS                                                            NO: 18-8969
 MELIS AITIEV, DD LOGISTICS,                                       SECTION: "S" (5)
 INC., AND WESTCO INS. CO.


                                    ORDER AND REASONS

       Before the court is defendant Melis Aitiev's 12(b)(6) Motion to Dismiss (Rec. Doc. 35),

seeking dismissal of this matter because plaintiff has failed to serve Aitiev with the lawsuit.

       On October 7, 2019, Proof of Service on Melis Aitiev was filed into the record.

Accordingly,

       IT IS HEREBY ORDERED that defendant Melis Aitiev's Motion to Dismiss (Rec.

Doc. 35) is DENIED as moot.



                                    16th day of October, 2019.
       New Orleans, Louisiana, this _____



                           ____________________________________
                                MARY ANN VIAL LEMMON
                            UNITED STATES DISTRICT JUDGE
